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                          S KADDEN , A RPS , S LATE , M EAGHER & F LOM                         LLP
                                                 ONE MANHATTAN WEST
                                                                                                        FIRM/AFFILIATE OFFICES
                                                  NEW YORK 10001                                                -----------
                                                             ________                                         BOSTON
                                                                                                             CHICAGO
                                                     TEL: (212) 735-3000                                     HOUSTON
                                                     FAX: (212) 735-2000                                   LOS ANGELES
                                                                                                            PALO ALTO
                                                       www.skadden.com                                   WASHINGTON, D.C.
   DIRECT DIAL                                                                                              WILMINGTON
                                                                                                                -----------
212-735-3834
                                                                                                               BEIJING
   DIRECT FAX
                                                                                                             BRUSSELS
917-777-3834                                                                                                FRANKFURT
   EMAIL ADDRESS                                                                                            HONG KONG
Boris.bershteyn@skadden.com                                                                                   LONDON
                                                                                                              MOSCOW
                                                                                                               MUNICH
                                                                                                                PARIS
                                                                                                            SÃO PAULO
                                                                        September 22, 2022                     SEOUL
                                                                                                             SHANGHAI
                                                                                                            SINGAPORE
                                                                                                                TOKYO
                                                                                                              TORONTO

                   VIA ECF

                   The Honorable Margo K. Brodie
                   United States District Court
                   Eastern District of New York
                   225 Cadman Plaza East
                   Brooklyn, New York 11201

                                  RE:     In re Payment Card Interchange Fee and Merchant Discount
                                          Antitrust Litigation, No. 05-MD-1720 (MKB)(VMS)

                   Dear Judge Brodie:

                           We write on behalf of defendants in the Rule 23(b)(3) class action with
                   respect to the September 8, 2022 motion to intervene in the referenced action filed by
                   proposed intervenors Jack Rabbit, LLC and 280 Station LLC (d/b/a Cowboys). In
                   response to this filing, co-lead class counsel filed a letter on September 15, 2022
                   (Dkt. No. 8710) explaining that the Court does not presently have jurisdiction to
                   address proposed intervenors’ motion, which should therefore be denied.

                            Defendants join class plaintiffs’ position, which provides a threshold basis for
                   denying the proposed intervenors’ motion. Should the Court nonetheless determine
                   that it would benefit from briefing of any additional issues prior to ruling on
                   proposed intervenors’ motion, defendants respectfully request the opportunity to
                   confer with proposed intervenors and class plaintiffs to establish a briefing schedule
                   pursuant to Your Honor’s Individual Rules 3(c) and (d).
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          September 22, 2022
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                                                  Respectfully submitted,

                                                  /s/ Boris Bershteyn
                                                  Boris Bershteyn


          cc:   All counsel of record (via ECF)
